Case 16-41629-mxm13              Doc 76      Filed 12/03/19       Entered 12/03/19 14:02:20           Desc
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Pam Bassel
Chapter 13 Standing Trustee
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North Richland Hills, TX 76180
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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                      FORT WORTH DIVISION


In Re:                                                             Case No: 16-41629-MXM


VALERIE ANN YANAROS


            Debtor



                NOTICE OF FILING OF FINAL REPORT AND ACCOUNT BY TRUSTEE


Notice is hereby given pursuant to 11 U.S.C. § 350 and Bankruptcy Rule 5009 that Pam Bassel, Chapter 13
Trustee, has filed a Final Report and Account in the above styled and numbered case certifying that the
estate has been fully administered. The Final Report and Account is on file with the CLERK OF THE
BANKRUPTCY COURT, 128 U.S. Courthouse, 10th and Lamar Street, Fort Worth, Texas 76102-3643 and
is available for review. A summary of the report is as follows:

Net Receipts                                                                      $14,706.00


Administrative Disbursements *                                                       $4,722.84
Debtor Refund Disbursements                                                           $387.00
Secured Disbursements                                                                $9,983.16
Priority Disbursements                                                                  $0.00
Unsecured Disbursements                                                                 $0.00


* Includes Attorney Fees, Notice Fees, Trustee Fees and Clerk 's Fees


Total Disbursements                                                               $15,093.00

Notice is further given that unless an objection is filed by the United States Trustee or a party in interest
within 30 days of service of this notice, the Court may declare that the bankruptcy estate has been fully
administered, and that the Trustee should be discharged and further liability on said Trustee 's bond with
respect to this case can be terminated.
                                                                    /s/ Pam Bassel
                                                                   Standing Chapter 13 Trustee
